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                             EXHIBIT 4
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

   PACIRA BIOSCIENCES, INC.,
                                                                Civil Action No. ___________
                                  Plaintiff,
           v.                                              EXPERT STATEMENT OF
                                                         WILLIAM RAYBURN, MD, MBA
   AMERICAN SOCIETY OF
   ANESTHESIOLOGISTS, INC., et al.,

                                   Defendants.


    I.      QUALIFICATIONS

         I am an emeritus distinguished professor, chair of obstetrics and gynecology, and

 associate dean for continuing medical education and professional development at the University

 of New Mexico School of Medicine. I recently joined the faculty at the Medical University of

 South Carolina. As a maternal-fetal medicine specialist, I continue to care for underserved

 women with complicated pregnancies and have received several teaching awards, and my

 research has led to more than 700 peer-reviewed journal articles and abstracts presented at

 national scientific meetings that deal with high risk pregnancy topics, physician workforce

 issues, and evaluative education trials.

         I also have extensive experience in the development, oversight, implementation, and

 administration of continuing medical education (CME) activities. I currently sit on the Board of

 Directors for the Accreditation Council for Continuing Medical Education (ACCME), the

 governing body for CME activities, and previously served as the Chair of the Board from 2017

 to 2018. (The opinions expressed in this statement are my personal opinions and do not

 represent the views of ACCME.) I also served as the President of the Society for Academic

 Continuing Medical Education (SACME) from 2018 until 2020, and held various other positions
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 with SACME before serving as President. I also served for two years as a Senior Consultant for

 Continuing Medical Education for the Association of American Medical Colleges, and I have

 served as a peer reviewer for the Journal of Continuing Education in the Health Professionals. In

 addition to these association positions, I was responsible for overseeing implementation of the

 CME program at the University of New Mexico during my tenure as an associate dean.

            I have received several awards with respect to my CME-related work, including the 2014

 Robert Fox Award for Excellence in CME Research, awarded by SACME. I have also been

 invited to speak over a dozen times on topics related to CME and have various publications

 regarding CME, including a 2018 book, Continuing Professional Development in Medicine and

 Health Care: Better Education, Better Patient Outcomes, which, is the official book of SACME.

 My full CV is attached as Exhibit A.

     II.         QUESTION ASKED

            I was asked by counsel to describe the process for providing continuing medical

 education (CME) activities and to explain if such materials should be free of bias and

 commercial interest and, if so, why.

     III.        OPINIONS

            A.     Background on CME Programs

            Continuing medical education (CME) is required for all physicians to remain board-

 certified, and it frequently is also required for physicians to maintain their state medical licenses

 and hospital privileges. It takes a variety of forms, but the most common form of CME activities

 are: (1) conferences and seminars promoted nationally, typically hosted by medical societies

 (i.e., societies for specific medical specialties); (2) local events, often hosted by a large hospital

 or academic health center; (3) Regularly Scheduled Series (known as RSS), such as standing,


                                                    2
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 weekly or monthly “grand rounds” at a hospital; (4) journal clubs, in which medical journals

 highlight a given article from their publication and provide the subscriber several multiple choice

 questions related to the content of that article; and (5) journal club meetings, in which subscribers

 attend meetings where select articles are reviewed with the objective of education.

        CME activities are typically hosted by a “provider,” such as the medical school within a

 university (e.g., The George Washington University School of Medicine), or a membership

 organization (e.g., the American College of Obstetricians and Gynecologists). Each event usually

 has a Program Director, who is typically the individual interested in hosting the event and then

 tasked with doing so, such as a member of a hospital, medical school, or medical association.

 Industry corporations, such as pharmaceutical companies, insurance companies, and medical

 device companies are ineligible to provide accredited CME activities (“ineligible companies”).1

        CME programs are regulated by the Accreditation Council for Continuing Medical

 Education (ACCME). Every year, accredited CME providers must submit Program and Activity

 Reporting System (PARS) data to ACCME as a requirement to maintain their accreditation. This

 permits ACCME to evaluate changes in the providers’ programs from year to year, and every four

 to six years, when each program is reviewed by ACCME surveyors. ACCME evaluates programs

 for their compliance with ACCME’s Accreditation Core Criteria: Mission, Program Analysis,

 Educational Needs, Designed to Change, and Analyzes Change.2 Providers also must comply

 with ACCME’s Standards for Integrity and Independence in Accredited Continuing Education




 1
   An industry corporation can provide educational grants for education and can sponsor an
 event, but typically only with a co-sponsor. When an industry sponsor is involved, various
 safeguards against bias in the presentation materials are imposed, as discussed below.
 2
   ACCME Accreditation Criteria, available at https://www.accme.org/accreditation-
 rules/accreditation-criteria.
                                                3
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 (ACCME Integrity Standards).3 These Accreditation Criteria and Integrity Standards are

 discussed more below.

         B.      Because CME Serves an Important Role in the Continuing Professional
                 Development of Physicians, it is Crucial that CME Information Be Balanced
                 and Free From Commercial Influence.

                 1.      Physicians Often Participate in Practice-Specific CME Activities with
                         the Intent of Applying Newfound Knowledge to Their Practice.

         CME is central to a physician’s medical practice. It is more than simply a “check-the-

 box” exercise needed to maintain certifications—serving patients requires a lifelong commitment

 to learning. A physician must stay abreast of evolving and developing advancements in his or

 her field and continuously work to identify and fill his or her knowledge gaps. Accordingly,

 there is a general understanding in the field, especially among those involved in the development

 and implementation of CME activities, that CME is aptly described as “continuing professional

 development” (CPD). CPD is the effort to acquire knowledge with the expectation that it will

 lead to performance improvement; i.e., enhanced patient care. A physician who gains

 knowledge that he or she does not apply has wasted that education. All stakeholders involved in

 CME activities—learners, researchers, authors, educators, accreditors, health care systems—

 share a responsibility for advancing CPD so that it effectively meets the needs of emerging

 generations of clinicians and fulfills their potential as strategic partners in health care

 improvement.

         Consistent with the goals of CPD, educational activities are typically focused on the

 specific practice areas of participating health care providers. Indeed, one of the accreditation

 criterion on which ACCME evaluates providers is whether the “provider incorporates into CME



 3
   Available at https://www.accme.org/accreditation-rules/standards-for-integrity-independence-
 accredited-ce.
                                               4
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 activities the educational needs (knowledge, competence, or performance) that underlie the

 professional practice gaps of their own learners.”4 Physicians also tend to seek CME activities

 that are relevant to their specific professional practices and capable of application. In my

 experience, physicians are often task-oriented, i.e., they respond well to pragmatic information

 and to training in cognitive or technical skills that they can apply immediately. Physicians are

 also trained from the outset of their careers to seek out CME activities that are relevant to their

 specific medical practices, with the intent that they will use the information to improve their

 performance. For example, young physicians in training are judged by certain core

 “competencies.” One of those competencies is the physician’s ability to identify gaps in her

 knowledge base and close those gaps through education. Thus, health care practitioners,

 especially younger practitioners, are especially responsive to material that is personalized and

 targeted specifically to address their needs and areas for growth.

        Regulatory authorities facilitate a physician’s lifelong learning by providing access to

 practice-specific education that drives clinical practice and quality improvement. In my

 experience, the American Board of Anesthesiology is a leader among regulatory boards in this

 respect. The Maintenance of Certification in Anesthesiology (MOCA) provides access to

 practice-specific CME content for board-eligible or board-certified anesthesiologists.

 Specifically, MOCA provides clear descriptions of what it expects its members to accomplish

 and identifies specific articles and content tailored to their members’ areas of expertise. In my

 role as Associate Dean at The University of New Mexico School of Medicine, I oversaw the

 CME activities that our school provided. MOCA offered a CME course at our school, which



 4
   ACCME Accreditation Criteria, available at https://www.accme.org/accreditation-
 rules/accreditation-criteria.
                                                5
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 occurred several times a year and was limited in capacity. During the course, participants

 engaged in pragmatic simulations of real-world events.

                    2.     CME Activities Should be Free From Commercial Bias In Order to
                           Preserve Their Integrity.

             Because physicians are likely to apply knowledge obtained through CME activities to

 their practices in serving patients, it is critical that the knowledge they obtain is balanced and

 accurate. For this reason, ACCME states that the “independence” of medical education from

 industry influence is “the cornerstone of accredited continuing education.”5 Healthcare

 professionals must have “a protected space to learn, teach, and engage in scientific discourse free

 from influence from organizations that may have an incentive to insert commercial bias into

 education.”6

             ACCME places the onus on CME providers at their organizations to implement

 safeguards to protect the independence of CME activities. ACCME holds accredited CME

 providers “responsible for ensuring that healthcare professionals have access to learning and skill

 development activities that are trustworthy and are based on best practices and high-quality

 evidence,” recognizing that “[t]hese activities must serve the needs of patients and not the

 interests of industry.”7 As a provider, I understood that we had a responsibility to provide CME

 activities that were balanced, evidence-based, and based on best practices.

             Specifically, to become accredited and to maintain accreditation from ACCME, all CME

 providers must comply with five Standards for Integrity and Independence in Accredited

 Continuing Education. Among others, Standard 1 requires that content be valid, meaning,



 5
     Supra n.3, ACCME Integrity Standards, Introduction, at 3 (emphasis added).
 6
     Ibid.
 7
     Ibid. at 3.
                                                    6
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     nmong other thing:., thut pro itler:. ensure 'Mb material "g1ve[s l u fair and ha lunced view of

     diagno tic and thern peutic opti ons," and that "[u Ill scient ifie re. carch referred Lo, rerorted, or

     used in accredited education in u1 pon or ju tification of a patient care recommendation ...

     confonn[, ) to the genera lly accepted standard of experimental design, data collection, ana ly,; is,

     and interpretation ."    tandard 2 "prevent commercial bias and marketing," and, among other

     thing , prohibits influence from ineligible companies. And Standard 3 obligates providers to

     "identify, mitigate, and disclo e relevant financial relationships ... between in<ljvidua ls in control

     of educational content and ineligible companie [.]" The standard expre sly slates that " there is

     no minimum financial thre hold."8 Standard 3 also impo es affirmative obligations on providers

     to collect and rusclose information about financial relationships, mitigate any conflicts, and

     exclude owners and employees of industry corporations from the educational activities.

                In the pre ent di pute, I have not evaluated the CME material or related content offered

     by the journal Anesthesiology that is at issue and do not express an opinion as to whether they

         atisfy the industry standard for educational content. However, if the content is not accurate and

     balanced or if the editors who create the CME materials have not made efforts to control for

     edito1ial and/or author biases of the underlying material, or worse--if they know such biase

     exist and do not correct for it- then such content would not comply with the applicable

     requirements governing the educational content.



     Date: 0 .3 - .Z.8 - eo.z I                         ~                      &~
                                                          Dr. William Rayburn, M.D.
                                                                                                           m 1),,.,6-4




     8
         Ibid. at 5-8.
                                                         7
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                             EXHIBIT A
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                                                                                                                                                                                      Current as of: 4/7/2021



                                                                                     Curriculum Vitae
                                                             William F. Rayburn, MD, MBA


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TITLE AND COMMUNICATION
Emeritus Distinguished Professor, Chair of Obstetrics & Gynecology, Associate Dean
1 University of New Mexico, MSC 09 5370
Albuquerque, NM 87131-0001
Mobile: (505) 615-0819
Fax:    (505) 272-8604
E-mail: wrayburnmd@gmail.com


EDUCATION

College/Teaching

Hampden-Sydney College, B.S. (Interscience), Hampden-Sydney,             07/1967-05/1971
Virginia

Teacher, Amherst County High School (Biology), Amherst, Virginia         01/1971-07/1971


Medical School

University of Kentucky, Lexington, Kentucky                              08/1971-06/1975


Internship

Family Medicine, University of Iowa Hospitals and Clinics, Iowa City,    07/1975-06/1976
Iowa (Chair: Robert Rakel, MD)


Residency

Obstetrics & Gynecology, University of Kentucky Medical Center,          07/1976-06/1979
Lexington, Kentucky (Chair: John Greene Jr., MD)


Fellowships

Maternal-Fetal Medicine, Department of Obstetrics and Gynecology, The    07/1979-06/1981
Ohio State University Hospitals, Columbus, Ohio (Chair: Frederick
Zuspan, MD)

Leadership Fellowship, Council of Deans, Association of American         09/2007-08/2008
Medical Colleges



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Physician Workforce Research Fellowship, American College of              09/2008-08/2010
Obstetricians and Gynecologists


Graduate School

Master of Healthcare Management and Business Administration (MBA)         06/2005-12/2007
with Honors, University of Texas, School of Management and
Southwestern Medical School, Dallas, Texas


Certificate Programs

Business of Medicine (Certificate of Medical Business), Johns Hopkins     07/1997-06/1998
University School of Medicine, School of Continuous Studies, Baltimore,
Maryland

Teaching for Quality Faculty Development Certificate Program,             06/2015-12/2017
Association of American Medical Colleges, Washington DC



ACADEMIC APPOINTMENTS

Assistant Professor

Department of Obstetrics & Gynecology, The University of Michigan         07/1981-10/1983
Medical School


Associate Professor

Department of Obstetrics & Gynecology, The University of Michigan         10/1983-10/1985
Medical School

Departments of Obstetrics & Gynecology and Pharmacology,                  11/1985-06/1988
University of Nebraska College of Medicine


Professor

Departments of Obstetrics & Gynecology and Pharmacology                   07/1988-03/1992
University of Nebraska College of Medicine

Departments of Obstetrics & Gynecology and Pharmacology/Toxicology        04/1992-11/1998
The University of Oklahoma College of Medicine




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Department of Obstetrics & Gynecology                                12/1998-1/2020
The University of New Mexico School of Medicine




Adjunct Professor

University of Texas, Naveen Jindal School of Management                2015-present
UT Southwestern Medical Center Healthcare Leadership & Management
Dallas, TX

College of Graduate Studies, Medical University of South Carolina,     2020-present
Charleston, SC




INSTITUTIONAL LEADERSHIP POSITIONS

University of Michigan Medical School

Director, Division of Maternal-Fetal Medicine,                           1981-1985
Department of Obstetrics & Gynecology


University of Nebraska College of Medicine

Director, Maternal-Infant Care Project                                   1986-1988
Director, Maternal Care Program                                          1988-1992
Director, Division of Maternal-Fetal Medicine                            1985-1992
Department of Obstetrics & Gynecology

University of Oklahoma College of Medicine

Director, Section of Maternal-Fetal Medicine                             1992-1998
Department of Obstetrics & Gynecology
Director, Maternal-Fetal Medicine Service                                1992-1998
Department of Obstetrics & Gynecology
Presbyterian Hospital, Oklahoma City



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Chief of Obstetrics,                                                         1992-1998
The University Hospital
Fellowship Program Director, Maternal-Fetal Medicine                         1998-2014
Department of Obstetrics and Gynecology

University of New Mexico School of Medicine

Chair,                                                                       1998-2014
Department of Obstetrics & Gynecology
Vice-President (elected annually)                                            1999-2007
University Physician Associates
Physician-in-Chief,                                                          1999-2002
Women’s Health Strategic Business Unit
Director of Maternal Fetal Medicine,                                         2006-2007
Women’s Hospital, Albuquerque, New Mexico
President,                                                                   2005-2007
La Tierra Sagrada Society (Fundraising at the Health Sciences Center for
community health research and student scholarships)
Chief of Staff,                                                              2006-2008
University Hospitals and Clinics
Interim Division Chief, Maternal Fetal Medicine                              2009-2011
Department of Obstetrics and Gynecology
Associate Dean,                                                              2013-2020
Continuing Medical Education and Professional Development


Medical University of South Carolina
Adjunct Professor                                                          2020-present
College of Graduate Studies




MEDICAL COMMITTEES AND LEADERSHIP POSITIONS

Department of Obstetrics and Gynecology (University of New Mexico)

Student Education Committee, member                                          1998-2014



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Research Review Committee, member                                         1998-2014
Continuing Medical Education Committee, member                            1998-2014
Resident Education Committee, member                                      1998-2014
Ambulatory Care Committee, chair and member                               1999-2014
Executive Committee, chair                                                1998-2014
Maternal-Fetal Medicine Fellowship Program, director                      2016-2020

Health Sciences Center/Medical School (University of New Mexico)

Medical Executive Committee, member                                       1998-2020
Committee of Chairs, member                                               1998-2014
Clinical Operations Improvement Committee, member                         1998-1999
University Physicians Associates Board of Directors, member               1998-2004
School of Medicine Finance Committee, member                              1998-2001
Committee of Clinical Operations, member                                  1998-2003
Task Force, Outreach Continuing Medical Education, member                 1999-2000
Development Office, Randolph Seligman Endowed Professor Fund, chair       1999-2014
Clinical Leaders Group, member                                            1999-2005
Clinical Research Center, Advisory Board, member                          1999-2006
University Physician Associates, Vice President                           2000-2002
University Physician Associates, Task Force for Revenue Rejections,       2000-2002
chair
Ad-hoc Committee for Department Reviews, chair                            2002-2004
Search Committee for Chair, Department of Internal Medicine               2002-2003
La Tierra Sagrada Society, board member                                   2004-2011
Ad-hoc Committee for Professional Leave, chair                            2004-2005
University Health Sciences Center, Task Force for Patient and Referring   2004-2005
Physician Satisfaction, co-chair
Clinical Executive Council, UNM Health Sciences Center, member            2004-2005
Next Generation Task Force, UNM School of Medicine, member                2005-2006
Faculty Practice Organization Advisory Committee, member                  2005-2006



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Faculty Contracting Advisory Committee, member                         2005-2007
Ad-hoc Committee for Sabbaticals, member                               2005-2006
Operating Room Executive Committee, member                             2005-2008
Search Committee for Chair, Department of Surgery, member              2005-2006
Education Strategic Planning Committee, member                         2006-2007
CTSC Career Development Core Working Group, member                     2006-2010
Clinical Operations Board, member                                      2006-2010
Quality Care and Patient Safety Board, member                          2006-2020
University of New Mexico Medical Group, Board of Directors, member     2007-2009
Committee of Excellence, member                                        2007-2009
Quality Oversight Committee, member                                    2007-2020
Search Committee for Chair, Department of Family and Community         2008-2009
Medicine, member
University of New Mexico Hospital Board of Trustees, member            2008-2010
UNMMG Strategic Action Plan Committee, member                          2008-2010
LCME Institutional Setting Subcommittee, member                        2008-2009
Medical Education Scholars Committee, member                           2014-2020
Medical Leadership Academy, member                                     2014-2020
Stem Cell Research Committee, member                                   2015-2020
New Mexico HSC Workforce Advisory Committee, member                    2015-2020
Quality Safety Officers, member                                        2016-2020
Sabbatical and Leave from Assigned Duties as hoc Committee, member     2017-2020

University of New Mexico (main campus)

Search Committee for President, University of New Mexico, member       2006-2007
University Board of Regents, Health Sciences representative            2006-2009

County/State Organizations

Ad-Hoc Committee on Maternal and Child Health,                         1986-1992
Nebraska Medical Association, member



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Nebraska Perinatal Organization, Board of Directors, member               1986-1992
Ad-Hoc Committee on Development of Perinatal Guidelines, Nebraska         1988-1989
State Department of Health, member
Advisory Committee, Maternal Child Health                                 1990-1992
Division, Nebraska Department of Health, member
Advisory Committee, Maternal Child Health Division (Healthy Futures),     1992-1998
Oklahoma Department of Health, member
Oklahoma Diabetes and Pregnancy Network                                   1992-1998
Oklahoma Department of Health, member
Maternal Mortality Committee, Oklahoma State Medical Association,         1992-1998
member
Albuquerque Obstetrics-Gynecology Society, Program Director               1999-2005
Milagro Clinic (for pregnant women with substance use disorders),         2001-2011
Medical Director
New Mexico Medical Society, Continuing Medical Education Committee,       2013-2020
member
Greater Albuquerque Medical Association, Membership Committee,            2015-2020
member
New Mexico Health Workforce Committee, member                             2016-2020


Medical University of South Carolina
Master of Science in Clinical Research Program, faculty member          2020-present
Course coordinator, “Community Engagement in Clinical Research”




NATIONAL LEADERSHIP POSITIONS

Council of University Chairs in Obstetrics and Gynecology (CUCOG)

Annual Meeting, program director                                          2001-2004
Assistant Secretary-Treasurer                                             2002-2003
Secretary-Treasurer                                                       2004-2005
President-elect                                                                2006



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 President                                                                  2007-2009
 Immediate past president                                                   2010-2012
 Founder and Program Director, Fellowship in Academic Leadership            2007-2014
 Council of University Chairs in Obstetrics and Gynecology

American College of Obstetricians and Gynecologists (ACOG)

Indian Affairs Committee, member                                           1988-1992
Scientific Program Committee, Annual College Meeting, member and chair     2000-2008
ACOG/Healthdyne Perinatal Research Fellowship, selection committee,        1992-1996
member and chairman
Committee on Continuing Medical Education, member                         2004-2007,
                                                                         2019-present
Annual Clinical Meeting, chair and general program, chair                  2004-2006
Collaborative Ambulatory Research Network (CARN), member                   2010-2017
Liaison Committee for Obstetrics and Gynecology (LCOG), member             2007-2019
Council of Medical Specialty Societies (CMSS), Workforce Component         2009-2019
Group, representative
Workforce Studies and Planning, consultant                               2010-present
Physician Workforce Committee, Council of Medical Specialty Societies,     2012-2019
member
Society for Maternal-Fetal Medicine, Membership Committee, member          2014-2019
Pregnancy Related Care Research Unit (RRCU), member                        2018-2019

Society for Academic Continuing Medical Education (SACME)

 Research Committee, member                                                 2015-2019
 Communications Committee, member                                        2016-present
 CE News Journal, co-editor (scholarly publications)                     2016-present
 Vice President                                                             2016-2017
 President-Elect                                                            2016-2018
 President                                                                  2018-2020
 Immediate Past President                                                2020-present



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Chair, Academy of Fellows                                              2020-present

Accreditation Council for Continuing Medical Education (ACCME)

Board of Directors, member                                             2015-present
Decision Committee, member                                               2015-2018
Finance Committee, member                                              2018-present
Executive Committee, member                                            2016-present
New Member and Election Committee, member                                2017-2018
Vice Chair of the Board                                                  2016-2017
Chair of the Board                                                       2017-2018

Association of American Medical Colleges (AAMC)

Group on Educational Activities, Continuing Professional Development     2017-2020
Senior Consultant for Continuing Medical Education                       2017-2019

Association of Professors in Obstetrics and Gynecology (APGO)

Committee for Council Membership, member                                 1999-2001
Foundation Board, member                                                 2002-2005

Other

Food and Drug Administration                                             1991-1998
(Office of Orphan Products Development), field reviewer
Neurobehavioral Teratology Society                                       1998-2000
Award Committee, member and chair
United States Pharmacopoeia Convention, field reviewer                   1983-1997



REVIEWER AND CONSULTANT

Medical Board Examiner

American Board of Obstetrics and Gynecology                              1989-2010




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       General Obstetrics and Gynecology                                   1989-2007
       Maternal-Fetal Medicine                                             2008-2010

Peer Journal Reviewer

Acta Obstetricia et Gynecologica Scandinavica (AOGS)
American Journal of Obstetrics and Gynecology (AJOG)
American Journal of Perinatology (AJP)
British Journal of Obstetrics and Gynecology (BJOG)
European Journal of Obstetrics and Gynecology and Reproductive Biology
Gynecology Obstetrics Investigation (GOI)
International Journal of Gynecology and Obstetrics (IJGO)
Journal of the American Medical Association (JAMA)
Journal of Maternal-Fetal Medicine (JMFM)
Journal of Continuing Education in the Health Professionals (JCEHP)
Journal of Obstetrical and Gynecological Research (JOGR)
Journal of Public Health (JPH)
Journal of Reproductive Medicine (JRM)
Journal of Society for Gynecologic Investigation (JSGI)
Journal of Women’s Health (JWH)
New England Journal of Medicine (NEJM)
Obstetrics and Gynecology (Obstet Gynecol)
Teaching and Learning in Medical Education

Abstract Reviewer for Scientific Meetings

 American College of Obstetricians and Gynecologists (ACOG)              1992-present
 Association of Professors in Gynecology and Obstetrics (APGO)           1999-present
 Council of Resident Education in Obstetrics & Gynecology (CREOG)        1999-present
 Society for Academic Continuing Medical Education (SACME)               2014-present
 Society for Reproductive Investigation (SRI)                            2015-present
 Society for Gynecologic Investigation (SGI)                               1996-2014



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 Society for Maternal Fetal Medicine (SMFM)                          1983-present

Editorial

 Journal of Reproductive Medicine
       Editorial advisory board                                      1992-present
       Associate editor                                              2000-present
       Editor-in-chief                                                 2000-2001
 Journal of Maternal-Fetal Medicine
       Editorial advisory board                                        1999-2004
 Reproductive Toxicology
       Editorial advisory board                                        2000-2009
 Obstetrics and Gynecology Clinics of North America
       Editor                                                        2003-present



Medical Publisher Consultant

Williams and Wilkins Publishers, Baltimore, MD
The C.V. Mosby Company, St. Louis
W. B. Saunders Publishers, Philadelphia, PA
Forest Laboratories, St. Louis, MO
Lippincott Publishers, Philadelphia, PA
Elsevier Publishers, Philadelphia, PA



ACADEMIC HONORS & AWARDS

Scholarship

 Distinguished Professor, Medicine, University of New Mexico           2014-2020

Teaching




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Golden Apple Award (Resident Excellence in Teaching Award),                 1977
honorable mention
University of Kentucky Medical Center
Golden Apple Award (Resident Excellence in Teaching Award),                 1978
honorable mention
University of Kentucky Medical Center
Appreciation for Teaching Faculty Award                                     1992
Department of Obstetrics and Gynecology
The University of Oklahoma College of Medicine
Faculty Teaching Award for Excellence in Teaching Medical Students          1993
Department of Obstetrics and Gynecology
The University of Oklahoma College of Medicine
Faculty Teaching Award for Excellence in Teaching Medical Students          1994
Department of Obstetrics and Gynecology
The University of Oklahoma College of Medicine
Faculty Teaching Award for Excellence in Teaching Medical Students          1996
Department of Obstetrics and Gynecology
The University of Oklahoma College of Medicine
Award for Teaching Excellence by Medical Students                      2003-2016
Department of Obstetrics and Gynecology
The University of New Mexico School of Medicine

Research

Residents' Prize Paper Award, Kentucky Obstetrical & Gynecological          1978
Society
Ephraim McDowell Prize Paper Award (Second Place Award),                    1978
District V American College of Obstetricians & Gynecologists
Residents' Prize Paper Award, Kentucky Obstetrical & Gynecological          1979
Society
Searle-Donald F. Richardson Prize Paper Award,                              1980
American College of Obstetricians & Gynecologists
Award for Research Excellence (Best Poster Presentation),                   1998
Society of Maternal-Fetal Medicine
Top 100 Reviewers, American Journal of Obstetrics and Gynecology       2003-2006




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 Top 100 Reviewers, Obstetrics and Gynecology                                2006
 Award for Excellence in Education Research (Best Oral Presentation)         2010
 Association of Professors in Gynecology and Obstetrics
 American College of Obstetricians and Gynecologists, Roy M. Pitkin      2010-2012
 Award for Outstanding Research Published in Obstetrics and Gynecology
 Robert Fox Award for Excellence in CME Research                             2014
 Society for Academic Continuing Medical Education
 Top 10 Citation in MedEdPublish, “Flipping an Obstetrics Clerkship          2017
 Lecture with an Interactive Learning Session”

Scholastic

 Dean's Letter of Special Recognition, (Third highest score on USMLE,        1973
 Part I, Class of 1975)
 Marquis Who's Who in Science and Engineering®                           1996-2014
 Marquis Who’s Who in The South and Southwest®                           1997-2016
 Marquis Who’s Who in America®                                           1997-2016
 Marquis Who’s Who in Medicine and Healthcare®                           1998-2016
 Marquis Who’s Who in the World®                                         1998-2017
 Marquis Who’s Who in American Education®                                2003-2015
 Marquis Who’s Who Among America’s Teachers®                             2004-2015
 Scholar, Physician Workforce Research, American College of              2008-2010
 Obstetricians and Gynecologists
 Scholar, Policy Research in Physician Workforce,                        2013-2016
 Robert Graham Center for Policy Research in Primary Care,
 American Board of Family Physician
 Albert Nelson Marquis Lifetime Achievement Award                            2017

Clinical

 Best Doctors in America: Central Region (Maternal-Fetal Medicine),      1996-1997
 Woodward / White Inc., NY.                                              1998-1999
 Best Doctors in America: Southwest Region (Maternal-Fetal Medicine),    2000-2001
 Woodward/White Inc., NY.                                                2001-2002



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                                                                              2009-2010

Books

Book of the Year Award, Drug Therapy in Obstetrics and Gynecology                     1983
American Journal of Nursing
Presidential Honor for Published Professors, University of New Mexico    2002,2003,2011,
                                                                         2013, 2018
Official Book of the Society for Academic Continuing Medical Education   2018 - present
Society, Continuing Professsional Development in Medicine and Health
Care: Better Education, Better Patient Outcomes




Endowed Chair/ Professorships

John W. Records Chair in Obstetrics and Gynecology                            1992-1998
University of Oklahoma
Randolph V. Seligman Professor in Obstetrics and Gynecology                   1999-2014
University of New Mexico

Alumni/Development

Distinguished Alumnus Award, University of Kentucky Medical Alumni                    2005
Association
Distinguished Service Award, School of Medicine Development Office                    2006
University of New Mexico

International Business Honor Society

Beta Gamma Sigma Society                                                    2007-present

Residency and Fellowship Training Program Reaccreditation

Reaccreditation, maximal duration (Am Bd Obstet Gynecol)                           1995,
Maternal-Fetal Medicine
College of Medicine, University of Oklahoma




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Reaccreditation, maximal duration (Am Bd Obstet Gynecol, Accred Coun   2001,2007,2013,
Grad Med Ed)
Residency Program
Department of Obstetrics & Gynecology
School of Medicine, University of New Mexico
Reaccreditation (Am Bd Obstet Gynecol, Accred Coun Grad Med Ed)            2017, 2019,
Maternal-Fetal Medicine Fellowship Program
Department of Obstetrics and Gynecology
School of Medicine, University of New Mexico

Continuing Medical Education Leadership

Reaccreditation with Commendation, University of New Mexico                      2014
Office of Continuing Medical Education and Professional Development
Accreditation Council for Continuing Medical Education
Physician Recognition Award with Commendation                               2012-2021
Continuing Medical Education
American Medical Association
President’s Award for Invaluable Effort                                    2017, 2018
Society for Academic Continuing Medical Education
Reaccreditation, University of New Mexico                                        2021
Office of Continuous Professional Learning
Accreditation Council for Continuing Medical Education




PROFESSIONAL SOCIETIES

National

American Board of Obstetrics and Gynecology (ABOG)
American College of Obstetricians and Gynecologists (ACOG)
American Gynecological and Obstetrical Society (AGOS)
Association of Professors in Gynecology and Obstetrics (APGO)
Council of University Chairs in Obstetrics and Gynecology (CUCOG)




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Society for Academic Continuing Medical Education (SACME)
Society for Gynecologic Investigation (SGI)
Society for Reproductive Investigation (SRI)
Society of Maternal-Fetal Medicine (SMFM)
Teratology Society (TS)


City/State
 Michigan Medical Society                                                1981-1985
 Michigan Obstetrics and Gynecology Society                              1981-1985
 Washtenaw County Obstetrics and Gynecology Society                      1981-1985
 Nebraska Medical Society                                                1985-1992
 Nebraska Obstetrics and Gynecology Society                              1985-1992
 Omaha Obstetrics and Gynecology Society                                 1985-1992
 Oklahoma State Medical Society                                          1992-1998
 Oklahoma Obstetrics and Gynecology Society                              1992-1998
 Oklahoma City Obstetrics and Gynecology Society                         1992-1998
 Albuquerque Obstetrics and Gynecology Society                           1999-2006
 New Mexico Section, District VIII, American College of Obstetrics and   1999-2020
 Gynecologists
 Greater Albuquerque Medical Association                                 2013-2020
 New Mexico Medical Society                                              2013-2020



BOARD CERTIFICATIONS & MEDICAL LICENSURE

Board Certifications

 National Board of Medical Examiners (159481)                                1976
 American Board of Obstetrics & Gynecology
      Certified                                                          1982-1999
      Recertified                                                        2000-2009




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       Recertified, voluntary                                             2010-2014
       Maintenance of Certification                                       2015-2016
       Lifelong Learning and Self-Assessment                            2017-present
American Board of Obstetrics & Gynecology, Division of Maternal-Fetal
Medicine
       Certified                                                          1983-1998
       Recertified                                                        1999-2014
       Recertified, voluntary (December 13, 1991)                         2015-2019
       Maintenance of Certification                                       2015-2016
       Lifelong Learning and Self-Assessment                            2017-present

Medical Licensure

Kentucky (18474)                                                            1976-79
Ohio                                                                        1979-81
Michigan (4301043615)                                                       1981-85
Nebraska (17088)                                                            1985-92
Oklahoma (17985)                                                            1992-99
New Mexico (99106)                                                        1998-2021
South Carolina (MD83276)                                                2019-present



SERVICE CONTRACT SUPPORT
Fellowship, Maternal-Fetal Medicine, Ohio State Health Department         1979-1981
Maternal and Infant Care Grant, Maternal Child Health Division            1986-1988
Nebraska State Health Department
Maternal Care Program, Maternal Child Health Division                     1988-1992
Nebraska State Health Department
Perinatal Consultant Grant, Aberdeen Indian Health Service, Omaha and     1988-1992
Winnebago Indian Reservations
Prenatal Genetic Screening Services, Oklahoma City Indian Health          1992-1995
Service




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Prenatal Genetics Services, Oklahoma State Department of Health          1992-1997
Perinatal Consultation Service, HCA Health Services of Oklahoma, Inc.    1992-1997
Columbia Presbyterian, Oklahoma City
Perinatal Consultation Service, Mercy Hospital, Oklahoma City            1994-1995
Professional Medical Services by Resident Physicians at Community        1995-1997
Clinics,
Oklahoma State Department of Health
Perinatal Consultation Services, Integris Baptist Medical Center         1996-1997
Oklahoma City
Perinatology Fellowship, HCA Health Services of Oklahoma, Inc.           1996-1997
Columbia Hospital, Oklahoma City
Central Oklahoma Perinatal Coalition: Community Clinic System            1996-1998
      City-County Board of Health of Oklahoma County                     1996-1998
      Hope Clinic                                                        1996-1998
      Neighborhood Service Organization                                  1996-1997
      Variety Clinic                                                     1996-1998
      Mary Mahoney Clinic                                                1996-1998
Maternity and Infant Care Grant, Maternal Child Health Division          1999-2007
New Mexico Department of Health
Planned Parenthood of New Mexico                                         1999-2014
Annual County Maternal and Child Health Training Institute               2000-2001
New Mexico Department of Health
New Mexico, Special Perinatal Care Grant, New Mexico State Legislature   2000-2014
Family Planning Program, New Mexico Department of Health                 1999-2007
New Mexico Community Integrated Service Systems Intervention             2001-2003
New Mexico Department of Health
Albuquerque Indian Health Service Clinics, Department of Human Health    2001-2012
Services, Indian Health Services
377th Medical Group, Ob/Gyn Services, Veterans Administration Medical    2001-2004
Center




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CLINICAL CARE RESPONSIBILITIES
Approximately half of my time at the University of New Mexico was dedicated to patient care
which includes primary obstetric care, perinatal consultation, fetal ultrasound interpretation,
outreach consultation clinics, and supervisory inpatient activities . While serving as an
associate dean, my clinical responsibilities declined to 0.2 FTE and included the following
patient care responsibilities:

Clinic Care

Staff one half-day fetal ultrasound clinic per week.

Consultation

Assist in correspondence with referral physicians for outpatient and inpatient maternal
transfers.
Be on-call for the Maternal-Fetal Medicine consultation every sixth night.

Supervisory

Make daily rounds on the Maternal-Fetal Medicine inpatient service for an average of one
week every five weeks.



EDUCATIONAL PROGRAMS & TEACHING
Approximately 20 percent of my professional time has been dedicated toward educational
activities that include teaching medical students, residents, and fellows; in-service
education/preparation; and continuing medical education. Recent examples include the
following educational activities:

Medical Students

Lecture in preclinical years about normal pelvic anatomy and about anatomic and physiologic
changes during pregnancy.
Advise approximately seven medical students annually who are contemplating careers in
obstetrics/gynecology.
Provide monthly problem-based didactic sessions to medical students in a classroom setting.
Teach regularly at the bedside or in small group sessions while on-call in the hospital, during
morning patient rounds, or in clinic consultation.




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Evaluate the performances of every medical student rotating on our service monthly with the
clerkship director.
Semi-annually review all student written evaluations of the teaching efforts by department
fellows.
Annually review national educational objectives for medical student education.
Advise and assist on one or more research projects by medical students annually.

Residents/Fellows

Assist one or more residents in the preparation of their annual research projects.
Assist in training fellows about research design and thesis preparation.
Annually review resident evaluations about my teaching performance as a constructive tool for
improving my teaching skills.
Annually review Accreditation Council for Graduate Medical Education (ACGME) educational
objectives for resident and fellow education.
Assist in implementing American Board of Obstetrics & Gynecology (ABOG) educational
objectives for maternal-fetal medicine fellows.
Provide a learning opportunity to medical students, residents, and fellows by sharing the care
of patients with complicated pregnancies.
Teach regularly at the bedside or in small group sessions while on-call in the hospital, during
morning patient rounds, or in consultation clinics.
Utilize the Internet frequently in searching for randomized control studies for teaching about
evidence –based guidelines for clinical practice.
Evaluate individual residents and fellows rotating on the maternal-fetal medicine service after
procedures monthly using written guidelines for the six core competencies.

Continuing Medical Education and Professional Development

Actively participate in regularly scheduled departmental teaching conferences (grand rounds,
morbidity and mortality case conference, perinatology-neonatology conference, annual
postgraduate courses, annual research symposium).
Prepare for and present between two and six new lectures annually for presentations at
community hospitals, other academic departments in the medical school, and other
obstetrics/gynecology departments nationally.
Act as a resource for educational materials for community physicians.




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Continually seek innovative methods for teaching patients, referring physicians, medical
students, residents, and fellows.
Participate regularly in educational staff meetings at approximately 17 community hospitals in
New Mexico.
Lecture at three or more other universities or graduate level conferences each year.
Obtain a minimum of 25 CME credit hours (usually 75-100) annually as desired by the state
medical licensure board.



CONTINUING MEDICAL EDUCATION CREDITS (2013 - Present)

 2013 Annual Women’s Health Conference (Albuquerque, NM), February                         10.25
 22-23, 2013
 Prenatal Diagnosis and Genetics Conference (Albuquerque, NM), March                             1
 5, 2013
 ACOG Annual Clinical Meeting (New Orleans, LA), May 4-8, 2013                               18
 American Gynecological and Obstetrical Society Annual Meeting                               12
 (Chicago, IL), September 9-10, 2013
 Annual UNM Health Sciences Center Education Day (Albuquerque, NM),                              6
 September 17, 2013
 Pain Management: Reducing Risk, Protecting Patients (Albuquerque,                               5
 NM), October 2013
 Association of American Medical Colleges Annual Meeting (Philadelphia,                      24
 PA), November 1-6, 2013
 ABOG, Annual Board Recertification Examination, 2013                                        30
 ACOG Annual Clinical Meeting (Chicago, IL), April 30-May 2, 2014                            18
 81st Annual Meeting of Central Association of Obstetricians and                             16
 Gynecologists (Albuquerque, NM), October 8-11, 2014
 ABOG, Annual Board Recertification Examination, 2014                                        30
 ABOG, Lifelong Learning and Self-Assessment (MOC Part II), 2015                             25
 AAMC, Teaching for Quality                                                                  25
       QI Boot Camp, April 6-7, 2015
       Part II, August 23-24, 2015
       Part III, January 11, 2015



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University of Texas School of Management, Leading in a Complex                 24
Organization, December 5-8, 2015
University of Texas School of Management, Quality and Performance              32
Improvement in Healthcare, February 6-9, 2016
4th International Meeting on Indigenous Women’s Health, February              3.5
17,2016
Annual Women’s Health Conference, February 19-20, 2016                        6.5
American College of Obstetricians and Gynecologists Annual Clinical and        17
Scientific Meeting, May 14-17, 2016
New Mexico Medical Society Annual Scientific Meeting, May 13, 2016            3.5
Symposium of Integrative Medical Professionals in the Land of                 3.5
Enchantment, July 11, 2016
American Board of Obstetrics and Gynecology Lifelong Learning and Self-        25
Assessment for CME, 2016
Annual UNM Health Science Center Education Day, September 9, 2016             3.5
Annual Women’s Health Conference, February 10-11, 2017                        7.5
Society for Maternal- Fetal Medicine: The Obstetric Critical Care              27
Interactive Course, October 2015-April, 2017
University of New Mexico LEADing to Excellence, June 5-6, 2017                7.5
Accreditation Council for Continuing Medical Education Annual Course,          26
April 25-27, 2017
American College of Obstetricians and Gynecologists Annual Clinical and        27
Scientific, May 6-9, 2017
Society for Academic Continuing Medical Education, May 24-27, 2017             27
University of New Mexico LEADing to Excellence, June 5-6, 2017               9.75
ABOG, Lifelong Learning and Self-Assessment (MOC Part II), 2017                25
University of New Mexico LEADing to Excellence, September 18-19, 2017        9.75
Education Day, University of New Mexico Health Sciences Center,               3.5
October 13, 2017
Learn, Serve, and Lead. Annual Association of American Medical               24.5
Colleges meeting, November 2-6, 2017
University of New Mexico LEADing to Excellence, December 14, 2017            6.25




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Annual Women’s Health Conference, February 23-24, 2018                         11
University of New Mexico LEADing to Excellence, March 8, 2018                6.25
AAMC Regional Western Group on Education Affairs Conference, March          21.25
24-27, 2018
Accreditation Council for Continuing Medical Education Annual Meeting,         26
April 17-19, 2018
Society for Academic Continuing Medical Education, April 25-28, 2018           22
14th Annual AAMC Health Workforce Research Meeting, May 10-11,                  8
2018
Alabama/Mississippi Section, ACOG annual meeting, May 12-13, 2018            10.5
Controlled Substance Abuse in New Mexico, New Mexico Department of            5.5
Health, May 29, 2018
Electronic Fetal Monitoring V 34.o, California Board of Registered            4.5
Nursing, June 4, 2018
Mission Excellence, LEADing to Excellence, University of New Mexico          6.25
Health System, June 14, 2018
Mission Excellence, LEADing to Excellence, Universiy of New Mexico           6.25
Health System, December 7, 2018

Society for Academic Continuing Medical Education, February 27-March           25
1, 2019
Mission Excellence, LEADing to Excellence, University of New Mexico          6.25
Health System, June 16, 2019
Guidelines for Medical Marijuana, Univesity of New Mexico School of          4.75
Medicine, September 20-21, 2019
American Board of Obstetrics and Gynecology Lifelong Learning and Self         25
Assessment for CME, 2019
University of New Mexico Education Day, October 4, 2019
                                                                              3.5

Society for Academic Continuing Medical Education Annual Meeting,            12.5
February 18-21, 2020


Annual Virtual Meeting, American College of Obstetricians and
                                                                             12.5
Gynecologists, October 24-25, 2020




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 2021 Society for Academic Continuing Medical Education Annual Virtual                     15.5
 Meeting: The Art and Science of Continuing Medical Education



INVITED LECTURES (2013 – Present)
1. “Present and Future Workforce of ACOG Fellows in District VI,” District VI Interim Advisory
   Council, American Congress of Obstetricians and Gynecologists, Savannah GA, February
   23, 2013.
2. “Present and Future Workforce of ACOG Fellows in District XII,” District XII Interim
   Advisory Council, American Congress of Obstetricians and Gynecologists, Sea Cloister
   GA, March 15, 2013.
3. “Clinical Development and Product Profile of MVI 200 (Misodel),” Ferring Pharmaceuticals,
   Phoenix AZ, March 22, 2013.
4. “Family Physicians Are Performing Fewer Deliveries,” AAMC 9th Annual Physician
   Workforce Research Conference, Washington DC, May 2, 2013.
5. “Present and Future Workforce of ACOG Fellows in District VII,” District VII Interim
   Advisory Council, American Congress of Obstetricians and Gynecologists, New Orleans
   LA, May 5, 2013.
6. “Present and Future Workforce of ACOG Fellows in District IV,” District IV Interim Advisory
   Council, American Congress of Obstetricians and Gynecologists, Hot Springs, VA, March
   13, 2014.
7. “The Need for Succession Planning by All Academic Chairs,” Council of University Chairs
   in Obstetrics and Gynecology, Chicago, IL, April 28, 2014.
8. “Screening for Birth Defects and Teratogen Risks with Ultrasonography in Early Gestation,”
   Teratology Society, Seattle, WA, June 29, 2014.
9. “Types of Continuing Medical Education Credits and Recognition Awards,” Learning
   through Teaching: Preceptor Conference, Albuquerque, NM, July 11, 2014.
10. “Workforce Projections for CREOG Curriculum Planning,” Council for Resident Education in
    Obstetrics and Gynecology, Laguna, CA, July 30, 2014.
11. “Changes in the Future Practices of Obstetrics and Gynecology,” Central Association of
    Obstetricians and Gynecologists, Albuquerque, NM, October 10, 2014.
12. “Present and Future Workforce of ACOG Fellows in District IX,” District IX Interim Advisory
    Council, American Congress of Obstetricians and Gynecologists, Marina del Rey, CA,
    March 14, 2015.




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13. “Changes in the Practices of Obstetricians and Gynecologists: Now and in the Future,”
    Annual Clinical Meeting, American College of Obstetrics and Gynecology. San Francisco,
    CA, May 5, 2015.
14. “Benefits and Limitations with Ultrasound Imagine in the First Trimester,” Contemporary
    Ob/Gyn Ultrasound, Honolulu, HI, August 7, 2015.
15. “Flipped Clinic Approach to Educating Medical Students about Interpreting Fetal
    Ultrasounds,” Contemporary Ob/Gyn Ultrasound, Honolulu, HI, August 7, 2015.
16. “Learning about Quality Improvement Projects,” HSC UNM Annual Education Day, October
    16, 2015.
17. “Flipping a Learning Session in Medical Education,” HSC UNM Annual Education Day,
    October 16, 2015
18. “Roles of Ob-Gyn Hospitalists with Changes in the Future Practices of Obstetricians-
    Gynecologists,” SOC Ob-Gyn Hospitalists, Scottsdale, AZ, November 14, 2015
19. Strategic Value of Succession Planning of Department Chairs,” Association of American
    Medical Colleges Annual Meeting, Baltimore, MD, November 19, 2015.
20. “Learning about Quality Improvement (QI) Projects,” University of Texas School of
    Management, Dallas, TX, February 9, 2016.
21. “Outpatient Cervical Ripening, Ready, Set, Go,” Donald Richardson Memorial Lecture,
    American College of Obstetricians and Gynecologists, Annual Clinical Meeting,
    Washington, DC, May 15, 2016.
22. “Will There be a Shortage of Obstetricians and Gynecologists?” American College of
    Obstetrics and Gynecology, Annual Clinical Meeting, Washington, DC, May 15, 2016.
23. “Changes in the Practice of Obstetrics and Gynecology,” Brigham and Women’s Hospital,
    Harvard Medical School, Boston, MA, June 15, 2016.
24. “Finding Happiness and Balance in Medicine (even for New Interns),” Department of
    Obstetrics and Gynecology Grand Rounds, University of New Mexico, Albuquerque, NM,
    August 5, 2016.
25. “Lunch and Learn: How to Prepare the Most Effective Research Poster.” Office of Medical
    Educators Development, University of New Mexico, Albuquerque, NM, August 8, 2016.
26. “Intrapartum Management of the Opioid-Dependent Parturient,” Soc Mat Fetal Med,
    Fellows Lecture Series, Cary, NC, July 20, 2016.
27. “Links to Life: People who Care, Timely Opportunities, Continually Contributing,” Berea
    College, Berea, KY, February 13, 2017.
28. “How to Prepare the Most Effective Research Poster.” Office of Medical Educators
    Development, University of New Mexico, Albuquerque, NM, February 21, 2017.



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29. “Criterion 33. Preparing to Perform Quality Improvement and Scholarly Work.” Accreditation
    Council for Continuing Medical Education, Chicago, Il, April 29, 2017.
30. “Is There a Shortage of Obstetrician-Gynecologists in the United States?” Am College of
    Obstetricians and Gynecology Annual Clinical Meeting, San Diego, CA, May 6, 2017.
31. “The Editing of a Professional Book: Continuing Professional Development in Medicine and
    Health Care: Better Education, Better Patient Outcomes,” Soc Acad Cont Med Ed,
    Scottsdale, AZ, May 17, 2017.
32. “Changes in the Practice of Obstetrics and Gynecology.” Department of Obstetrics and
    Gynecology Grand Rounds, Medical University of South Carolina, Charleston, SC, June 12,
    2017.
33. “Is There a Shortage of Obstetrician-Gynecologists in Iowa?” Department of Obstetrics and
    Gynecology Grand Rounds, University of Iowa, Iowa City, IA, July 25, 2017.
34. “Designing a Robust System to Deliver CME Credit.” metaECHO International Conference,
    Albuquerque, NM, September 12, 2017.
35. “Five Trends in Continuing Professional Development and Its Relevance to the University
    of New Mexico Mission of Excellence.” Studor Group, Mission: EXCELLENCE, University
    of New Mexico Health Sciences Center, Albuquerque, NM, September 18-19, 2017.
36. “Five Trends in Continuing Professional Development and Its Relevance to Clinician
    Educators.” Education Day, University of New Mexico, Albuquerque, NM, October 13,
    2017.
37. “Changes in the Practice of Obstetrics and Gynecology.” Department of Obstetrics and
    Gynecology Grand Rounds, University of Oklahoma, Oklahoma City, OK, November 10,
    2017.
38. “Coping with Changes in Obstetrics-Gynecology Practice in Oklahoma.” Oklahoma City Ob-
    Gyn Society, Oklahoma City, OK, November 13, 2017.
39. “Issues relating to Changes in Practice,” Alumni Association and Preceptor Program,
    University of New Mexico, Albuquerque, NM, April 14, 2018.
40. “Learning about Research and Scholarly Activity in Continuing Medical Education,”
    Accreditation Council for Continuing Medical Education, Chicago, Il, April 20, 2018.
41. “President-Elect Perspectives about Moving Forward in Academic Continuing Medical
    Education, Society for Academic Continuing Medical Education, San Antonio, TX, April 26,
    2018.
42. “Changes in the Practice of Obstetricians-Gynecologist in Alabama and Mississippi,” Ft
    Walton Beach, FL, May 12, 2018.




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43. “Academic Continuing Medical Education and Professional Development in the U.S. and
    Canada: Results of the 2018 AAMC/SACME Survey,” Education Day, University of New
    Mexico School of Medicine, Albuquerque, NM, September 28, 2018.
44. “Changes in Practices of Obstetrician and Gynecologists in Kentucky” Department of
   Obstetrics and Gynecology Grand Rounds, University of Kentucky, Lexington, KY October
   31, 2018.
45. “2018 AAMC/SACME Harrison Survey Results: Academic Continuring Medical Education
   and Professional Development in the U.S. and Canada.” AAMC Learn, Serve and Lead
   (LSL) Annual Meeting, Austin, TX, November 5, 2018.
46. “Annual Quality Improvement and Patient Safety Symposium: The Why and How.” Offices
    of Graduate Medical Education and Continuing Medical Education/Professional
    Development.” Univeristy of New Mexico School of Medicine, Albuquerque, MN, February
    22, 2019.
47. “Presidential Address: A Historical Perspective of Continuing Medical Education at U.S.
    Medical Schools.” Society for Academic Continuing Medical Education, Charleston, SC,
    February 28, 2019.
48. “Online Resources for Point of Care (POC) Learning,” Society for Academic Medical
    Education Virtual Journal Club,” Philadelphia, PA, March 28, 2019.
49. “Opportunities for Learning and Measuring Outcomes in Continuing Prfessional
    Development,” Western Group on Educational Activities, Reno, NV, March 29, 2019.
50. “Addressing Challenges in the Obstetrician-Gynecologist Workforce,” Austin, TX, May 10,
    2019.
51. “Changes in the Practices of Obstetricians and Gynecologists in the Lone Star State,”
    Grand Rounds, Department of Obstetrics and Gynecology, University of Texas
    Southwestern Medical School, Dallas, TX, May 22, 2019.
52. “Marijuana during Pregnancy and Breastfeeding,” University of New Mexico School of
    Medicine, Albuquerque, NM, September 20-21, 2019.
53. “Developing Faculty in an Evolving Healthcare World: Where We Need to Go,” Association
    of American Medical Colleges Annual Meeting, Phoenix, AZ, November
54. “Comparison in Accredited Continuing Education between the American College of
    Obstetricians and Gynecologists and other Non-Profit Medical Specialty Societies,
    Washington, DC, November 18, 2019.
55. “Tools for the Future,” Alliance for Continuing Education in the Health Professions, San
    Francisco, CA, January 11, 2000.
56. “Leading with Change,” Presidential Address, Society for Academic Continuing Medical
    Education, Miami, FL, February 21, 2020.


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57. “ Vaginal Breech Delivery” and “Operative Vaginal Delivery,” Advanced Life Support in
    Obstetrics annual meeting, Charleston, SC, January 4, 2021.



RESEARCH GRANTS

Primary Areas of Established Research

Methods and Effectiveness of Induction of Labor

Conclusions from our randomized clinical trials over the past 35 years have aided in
developing evidence-based national practice guidelines. These include the value and
limitations with different prostaglandin agents used for cervical ripening, different dosing
regimens, single versus multi-dosing, outpatient versus inpatient therapy, prevalence of
elective inductions, safety for the fetus and newborn infant, and cost comparisons.
Fetal Neurobehavioral Effects from Maternal Medications
Observations from our mouse model translational laboratory support the belief that the
developing fetal brain is vulnerable to a variety of prescription medications at specific brain
receptor sites that are critical to the expression of organized responses. General principles and
processes discovered with this model system served as the basis for formulating new
hypotheses- the kind which may be tested in other species including the human. Phenomenon
observed from our investigations on the offspring’s cognition and complex behaviors should
stimulate clinical correlations of positive findings in humans and promote a deeper
understanding about neural mechanisms underlying the organization of integrated responses
at various stages of life.
Workforce Issues Affecting U.S. Obstetrician-Gynecologists
Scholarly efforts by our nationally-known multidisciplinary team are recognized for research in
contemporary workforce issues which support policy-making for women’s health care services.
Their series of research projects provide past, present, and evolving pictures of the ob-gyn
workforce in the United States. Developing these scholarly projects represented a stepwise
approach to systematically collect and analyze survey data to determine the roles of ob-gyns.
We have examined such factors as changes in office and hospital practices, gender,
geographic location, time commitments (part-time or full-time), and scope of practice. My work
has included a series of investigations examining the changing landscape of academic
departments in obstetrics and gynecology. My three texts deal with such timely issues as
changes in practice, physician demographics and diversity, salaries, retention/relocation,
professional dissatisfaction, and retirement.

Industry Sponsored



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Principal investigator, "Comparison between moxalactam and cefazolin         1981-1983
for cesarean section," Eli Lilly
Principal investigator, "Piroxicam in post episiotomy pain," Pfizer          1983-1984
Pharmaceuticals
Principal investigator, "Patient controlled analgesia and post cesarean          1987
pain relief," Bard Med Systems
Principal investigator, "Meperidine pharmacokinetics for patient-            1987-1988
controlled analgesia during labor,” Abbott Laboratories
Principal investigator, "Patient controlled analgesia and gynecologic        1988-1989
surgery," Abbott Laboratories
Principal investigator, "Randomized, placebo controlled multi-center trial   1990-1991
of prostaglandin E2 (PGE2) in a controlled release vaginal pessary as a
ripening agent for the unfavorable cervix,” Controlled Therapeutics, Inc.
Co-investigator, "Effects of intrapartum analgesics on fetal behavior        1991-1992
patterns during labor," Hewlett-Packard
Principal investigator, “Double-blind, placebo-controlled, multi-center      1993-1994
study of prostaglandin E2 in controlled release vaginal pessary with a
retrieval system.” Controlled Therapeutics, Inc.
Principal investigator, "An open-label, active control safety and efficacy   1994-1995
study of Antocin in the acute treatment of preterm labor," Robert W.
Johnson
Principal Investigator, “A trial of labor in women who have had one          1996-1997
previous low segment transverse cesarean section: comparison of
Prepidil ® versus expectant arrangement,” The UpJohn Company
Principal investigator, “Double-blind, placebo-controlled study of           1997-1998
nonprescription ranitidine (Zantac ®) for gastroesophageal reflux
symptoms during pregnancy,” GlaxoWelcome
Principal investigator, “A multicenter, prospective, randomized, double-     1997-1998
blind, parallel-group, single-dose study comparing the efficacy and
safety of extra strength Bayer ® Aspirin caplets, Tylenol ® with codeine
#3 tablets, and placebo in patients with moderate to severe pain due to
postpartum uterine cramping,” PPD Pharmaco

Principal investigator, “Antocin PTL099-A randomized open label safety       1996-1998
and efficacy study of Antocin maintenance therapy versus oral B-




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mimetic nitrated maintenance therapy in women in preterm labor,”
Robert W. Johnson
Principal investigator, “Double-blind, placebo-controlled study of                 1999
nonprescription famotidine (Pepcid A®) for gastroesophageal reflux
symptoms during pregnancy,” Merck & Co.
Co-investigator, “Cyclo-Provera contraceptive Injection and Depo-                  1999
Provera contraception injection versus Ortho-Novum 7/7/7, 28 Tablets: a
comparative study of safety and patient acceptability in adolescents (<
18 years old),” Pharmacia UpJohn

Principal investigator, “Patterns of uterine activity with low-dose oxytocin   1999-2000
begun immediately or twelve hours after sustained release intravaginal
prostaglandins E2 (PGE2),” Forest Pharmaceuticals
Principal Investigator, “A randomized trial of Cervidil-immediate oxytocin     2000-2003
versus misoprostol for induction of labor,” Forest Pharmaceuticals
Principal investigator, “A multi-center to evaluate fetal fibronectin as an    2001-2003
aid in the predictions of successful labor induction,” Ross Laboratory
and Adeza Biomedical Corporation
Principal investigator, “Phase II study of the misoprostol vaginal delivery    2003-2004
system (Misoprostol VDS) in nulliparous women at term,” Cytokine
Pharmasciences
Principal investigator, “A multi-center randomized, double blind trial of      2004-2005
four doses of controlled release misoprostol for labor induction in parous
women,” Cytokine Pharmasciences
Principal investigator, “Phase III study of the efficacy and safety of the     2006-2007
misoprostol vaginal insert (MVI) compared to Cervidil® in women at
term requiring cervical ripening and initiation of labor,” Cytokine
Pharmasciences
Principal investigator, “Iodide concentrations in matched maternal             2006-2007
serum, cord serum amniotic fluid and placental tissue from term and
pre-term subjects,” Exygen Research Laboratories
Principal investigator, “A multi-center, randomized, double-blind, dose-       2009-2010
ranging, phase II study to assess the efficacy and safety of the 100, 150
and 200 mcg misoprostol vaginal insert (MVI 100, MVI 150 and MVI
200) for women requiring cervical ripening and induction of labor,”
Cytokine Pharmasciences




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Principle investigator, “Time-to-appointment for new well woman             2017-2018
examinations: a national sampling using mystery shopper methodology,”
Merritt Hawkins

National Institutes of Health

Co-investigator, "Ultrasonic evaluation of fetal lung maturity," NICHD      1984-1985
grant 5 RO IHD 172302
Co-investigator, "Phencyclidine biotransformation by human liver and        1982-1984
placenta," NIDA grant DA-0153
Co-investigator, "Changes in insulin requirements during pregnancy,"        1984-1985
National Heart, Lung, and Blood Institute, NIH
Co-investigator, "Severe hypoglycemia during pregnancy and                  1984-1985
indications for glucagon," National Heart, Lung, and Blood Institute, NIH
Co-investigator, "Intravenous ritodrine therapy; Comparison between         1984-1985
twin and singleton gestation," National Heart, Lung, and Blood Institute,
NIH
Co-Principal investigator, "Cooperative Multicenter Network of Maternal-    1993-1996
Fetal Medicine Units (MFMU)," National Institute of Child Health and
Human Development
Co-investigator, “Women’s Reproductive Health Research Career                   1998
Development Centers,” National Institute of Child Health and Human
Development, Office of Research on Women’s Health (not funded)
Director, Milagro Substance Use Clinic, “Motivational enhancement           2003-2012
therapy,” National Institute of Drug Abuse (NIDA) 1U1O DA 1533,
William Miller PhD, Principal investigator, $1,323,000
Co-investigator, “UNM clinical core for preterm birth genomics/             2004-2009
proteomics,” National Institutes of Child Health and Human
Development, Office of Research in Women’s Health, $979,266 (not
awarded)
Co-investigator, “Integrative perinatal harm reduction and prevention,”     2004-2009
National Institute of Child Health and Human Development, Office of
Research in Women’s Health, $1,452,017 (not awarded)
Co-investigator, “Cooperative multicenter network of maternal-fetal         2005-2010
medicine units (MFMU)”, National Institute of Child Health and Human
Development, $1,234,011 (not awarded)




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Co-Principal investigator, “Cooperative multicenter network of safe           2007-2011
labor,” National Institute of Child Health and Human Development,
$239,282 (not awarded)
Collaborator in pilot projects, “Fetal ethanol-induced behavioral deficits:   2007-2012
Mechanisms, diagnoses and interventions,” Department of Health and
Human Services, $2,499,999
Co-investigator, “Fetal alcohol-induced behavioral deficits: mechanisms,      2012-2017
diagnoses, and interventions. Serum microRNA biomarkers of maternal
alcohol consumption,” National Institute of Health/National Institute of
Alcohol Abuse and Alcoholism, (1 P50 AA022534)
Co-investigator, “Early indices of atypical neurodevelopment associated       2013-2018
with fetal alcohol exposure,” National Institute of Health/National
Institute of Alcohol Abuse and Alcoholism, (1 R01 AA0218771-01)

Health Resources & Services Administration (HRSA)

Principal investigator, “Health equities and education and training of            2018
healthcare providers,” Health Workforce Research Center Cooperative
Agreement Program, $1,800,000 (not awarded)

Institution Sponsor

Co-investigator, "The placenta: An active organ of drug                       1982-1984
biotransformation,"
The University of Michigan Psychopharmacology Research Fund
Principal investigator, "Acetaminophen pharmacokinetics during                1984-1985
pregnancy,"
The University of Michigan Clinical Research Center (funded by NIH),
protocol 536
Co-investigator, "Pharmacokinetics of labetalol in the sheep maternal-        1986-1987
fetal unit,"
University of Nebraska College of Medicine Seed Grant
Principal investigator, “Establishment and expansion of scientist             1999-2002
physician interactive research in women’s health,”
University of New Mexico, School of Medicine

National Medical Organizations




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 Principal investigator, “Tenure of academic chairs in obstetrics and        2003-2005
 gynecology,” Council of University Chairs in Obstetrics and Gynecology
 Principal investigator, “Tenure of chairs at United States medical          2007-2008
 schools: a 30-year perspective,” Association of American Medical
 Colleges
 Principal investigator, “The changing landscape in obstetrics and           2008-2009
 gynecology: anticipating increased demand in academic faculty,”
 American College of Obstetricians and Gynecologists and Association
 of American Medical Colleges
 Principal investigator, “The obstetrician-gynecologist workforce in the     2009-2010
 United States,” American College of Obstetricians and Gynecologists

Research Endowments

 John W Records Perinatal Research Fund                                      1992-1998
 Randolph and Eleanor Seligman Perinatal Research Fund                       1999-2014

March of Dimes

 Principal investigator, "Postnatal ontogeny of muscarinic receptors in      1985-1986
 rat striatum," March of Dimes Summer Science Research Program
 Principal investigator, "Fetal behavior and intrapartum exposure to              1990
 fentanyl," March of Dimes Summer Science Research Program



INSTITUTIONAL REVIEW BOARD APPROVED PROJECTS (UNIVERSITY OF NEW
MEXICO ONLY)
1. “Randomized comparison of intracervical prostaglandin E2 with immediate oxytocin versus
   intravaginal prostaglandin E1 analog (misoprostol) for cervical ripening and induction of
   labor.”
2. “Patterns of uterine activity with low-dose oxytocin begun immediately or twelve hours after
   sustained release intravaginal prostaglandins E2.”
3. “A randomized trial of Cervidil-immediate oxytocin versus misoprostol for induction of
   labor.”
4. “Effect of an external light source on fetal behavior testing.”




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5. “Intravenous oxytocin for induction or augmentation: a comparison between twin and
   singleton gestations.”
6. “A double blind assessment for fetal fibronectin assay and salivary estriol for prediction of
   preterm delivery in non-symptomatic Patients with multiple gestation receiving transvaginal
   assessment of endocervical length.”
7. “A randomized trial of Cervidil-immediate oxytocin versus misoprostol for induction of
   labor.”
8. “A multicenter study to evaluate fetal fibronectin as an aid in the prediction of successful
   labor induction.”
9. “Ginger therapy for nausea of early pregnancy: a randomized, placebo-controlled trial.”
10. “Adverse drug events in hospitalized obstetrics patients.”
11. “Role of the clinical chair in phase II medical student education.”
12. “Removal of cutaneous staples after cesarean delivery: before or after hospital discharge?”
13. “Effect of external light stimulation from a halogen light source on fetal heart rate patterns.”
    (HRRC #02-508)
14. “Effect of methadone maintenance therapy on intrapartum heart rate patterns.” (HRRC #03-
    130)
15. “Medical students’ attitudes toward pregnant substance abusers: assessing the effect of a
    teaching module.” (HRRC #03-184)
16. “Risk of cesarean with routine induction of labor at 38 weeks’ gestation in gestational
    diabetic population.” (HRRC #03-228)
17. “Phase II study of the misoprostol vaginal delivery system (misoprostol VDS) in nulliparous
    women at term.” (HRRC #03-248)
18. “Cross-over trial of fetal heart rate response from external light and vibroacoustic
    stimulation.” (HRRC #03-262)
19. “Patterns of uterine activity with the low-dose oxytocin begun immediately or twelve hours
    after sustained release intravaginal prostaglandin E2 (PHE2)” (HRRC #99-044)
20. “A multi-centre, randomized, double blind trial of four doses of controlled-release
    misoprostol for labor induction in parous women.” (HRRC #04-002)
21. “Effects of gestational age on labor induction with severe preeclampsia.” (HRRC #04-289)
22. “Determining when a short umbilical cord length can explain failure to descend during
    labor.” (HRRC #05-306)
23. “Predicting outstanding resident teachers.” (HRRC #05-039)




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24. “Tenure of academic chairs in obstetrics and gynecology.” (HRRC #05-357)
25. “Multicenter, randomized, double-blind phase III study of the efficacy and safety of the
    misoprostol vaginal insert (MVI) compared to Cervidil® in women at term requiring cervical
    ripening and initiation of labor” (HRRC #06-208)
26. “Iodide concentrations in matched maternal serum, cord serum, amniotic fluid and placental
    tissue from term and pre-term subjects” (HRRC #06-240)
27. “Effect of a specialized prenatal clinic on medical students’ attitudes toward women with
    drinking problems” (HRRC #03-184)
28. “Medical students’ awareness of traditional values of Native American pregnant women”
    (HRRC #06-239)
29. “Tenure of chairs at United States medical schools: a 30-year perspective” (HRRC #07-
    317)
30. “Influence of maternal obesity on no stress test performance” (HRRC #08-354)
31. “Trends in academic manpower in obstetrics and gynecology” (HRRC #07-285)
32. “A multicenter, randomized, double-blind, dose-ranging, phase II study to assess the
    efficacy and safety of the 100, 150 and 200 mcg Misoprostol vaginal insert (MVI 100, MVI
    150 and MVI 200) for women requiring cervical ripening and induction of labor” (HRRC
    #09-122)
33. “Influence on medical students’ attitudes of an educational encounter at a rehabilitation
    residence for substance abusing pregnant women” (HRRC #09-298)
34. “How dependent is the proportion of decosapentanoic acid (DHA) in the plasma
    phospholipids or newborn infants on the DHA status of the mother?” (HRRC #10-062)
35. “Promotion rates for first time assistant and associate professors in obstetrics and
    gynecology” (HRRC #10-396)
36. “The obstetrician-gynecologist workforce in the United States: facts, figures, and
    implications” (HRRC #11-328
37. “Changing demographics of obstetrics and gynecology faculty, 1980-2009” (HRRC #12-
    325)
38. “Long-term trends in obstetrics and gynecology residents pursuing accredited subspecialty
    fellowship training, 1992-2012” (HRRC #12-326)
39. “Changing landscape of academic obstetrics and gynecology” (HRRC #13-328)
40. “Workforce issues affecting obstetricians and gynecologists in the United States” (HRRC
    #13-329)




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ABSTRACTS AT NATIONAL MEDICAL MEETINGS
1.   Jawad MJ, Wilson EA, Rayburn WF. The effect of serum lipids on unconjugated serum
     estriol determinations by R.I.A. Soc Gynecol Investiga, Denver CO, 1980.
2.   Rayburn WF. Maternal perception of fetal movement and perinatal outcome. Am Col
     Obstet Gynecol, New Orleans LA, 1980.
3.   Rayburn WF, Brinkman D, Beyens A. Umbilical cord length and intrapartum
     complications. Am Col Surgeons, Atlanta GA, 1980.
4.   Rayburn WF, Zuspan FP, Motley ME. An alternative to fetal antepartum fetal heart rate
     testing. Central Assoc. Obstet Gynecol, Minneapolis MN, 1980.
5.   Rayburn WF. Activity patterns in malformed fetuses. Soc Gynecol Investiga, St. Louis
     MO, 1981.
6.   Rayburn WF. The post mature infant: Predictive value of urine estrogen determinations.
     Soc Gynecol Investiga, Dallas TX, 1982.
7.   Rayburn WF, Barr M. Concordance for teratomas in mother and fetus. Teratology
     Society, Indianapolis IN, 1982.
8.   Rayburn WF, Donn S: Obstetric factors and neonatal intra-ventricular hemorrhage. Ross
     Symposium on Neonatal Intraventricular Hemorrhage, Washington DC, 1982.
9.   Rayburn WF, Motley ME, Stempel LE: Antepartum prediction of the post mature infant.
     Soc Perin Obstet, San Antonio TX, 1982.
10. Rayburn WF, Rayburn PR, Gabel LL. Fetal hyperactivity: Another worrisome sign?
    Southern Perin Assoc., New Orleans LA, 1982.
11. Rayburn WF, Donn SM, Kolin M, Schork M. Obstetric care and intraventricular
    hemorrhage in the low birth weight infant. Am Col Obstet Gynecol, Atlanta GA, 1983.
12. Rayburn WF, Johnson MZ, Menon KMJ. Rh isoimmunization: Normal amniotic fluid
    absorbance characteristics between 16 and 20 weeks. Soc Gynecol Investiga,
    Washington DC, 1983.
13. Wible-Kant J, Hamazaki Y, Rayburn WF. The dynamics of anti-D IgG injected at 28
    weeks of pregnancy in Rh negative females. Soc Gynecol Investiga, Washington DC,
    1983.
14. Rayburn WF, Holsztynska EJ, Domino EF. Phencyclidine: Biotransformation by the
    placenta. Soc Gynecol Investiga, Washington DC, 1983.
15. Rayburn WF, Zuspan FP, Piehl EJ. Home blood pressure monitoring during pregnancy.
    Soc Perin Obstet, San Antonio TX, 1983.




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16. Rayburn WF, Lavin J, Miodovnik M, Varner M. Multifetal gestation: Time interval between
    delivery of the first and second twin. Soc Perin Obstet, San Antonio TX, 1984.
17. Crowley D, Dick M, Rayburn WF, Rosenthal A. Two-dimensional M mode
    echocardiography-evaluation of fetal arrhythmias. Am Col Cardiol, Boston MA, 1984.
18. Rayburn WF, Sander C, Barr M, Rygiel R. The stillborn fetus: The role of placental
    histologic examination in determining a cause. Soc Gynecol Investiga, San Francisco CA,
    1984.
19. Rayburn WF, Piehl E, Lewis R, Schork A. Changes in insulin requirements during
    pregnancy. Soc Perin Obstet, Las Vegas NV, 1985.
20. Holsztynska EJ, Pohorecki R, Blusiewiczk, Rayburn WF, Coon WW, Domino EF.
    Phencyclidine biotransformation by human liver and placenta. Soc Gynecol Investiga,
    Phoenix AZ, 1985.
21. Rayburn WF, Piehl E, Schork A. Intravenous ritodrine and twin gestations. Soc Perin
    Obstet, Las Vegas NV, 1985.
22. Rayburn WF, Donn S, Compton A, Piehl E. Maternal phenobarbital therapy and
    intraventricular hemorrhage in the low birth weight infant. Ross Symposium on Neonatal
    Intraventricular Hemorrhage, Washington DC, 1985.
23. Meyer CR, Dupuy ME, Absalom K, Rayburn WF, Silver TM, Carson PL. Preliminary
    results regarding the correlation of fetal lung maturity with quantitative parameters
    estimated from digitized RF ultrasound. Am Instit Ultrasound Med, Dallas TX, 1985.
24. Rayburn WF, Piehl E, Jacober S. Severe hypoglycemia during pregnancy: Its frequency
    and predisposing conditions in diabetic women. Am Col Obstet Gynecol, Washington DC,
    1985.
25. Davidson B, Rayburn WF, Fleming W, Beer A. Immune globulin therapy and idiopathic
    thrombocytopenic purpura during pregnancy. Soc Perin Obstet, Las Vegas NM, 1985.
26. Rayburn WF, Stetson P, Shukla U, Piehl E. Acetaminophen pharmacokinetics:
    comparison between pregnant and nonpregnant states. Soc Gynecol Investiga, Toronto
    Canada 1986.
27. Rayburn WF, Donn S, Compton A, Piehl E. Maternal phenobarbital therapy and
    intraventricular hemorrhage in the low birth weight infant. Soc Perin Obstet, San Antonio
    TX, 1986.
28. Rayburn WF, LeMire MS, Bird JL, Buda AJ. Mitral valve prolapses: Serial
    echocardiographic assessment during and after pregnancy. Soc Perin Obstet, San
    Antonio TX, 1986.
29. Irsik R, Johnson R, Anderson J, Imray T, Rayburn WF. Ultra-sonography of the pregnant
    uterine cervix. Am Instit Ultrasound Med, Las Vegas NV, 1986.


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30. Rayburn WF, Compton A, Sander C. Histologic findings of the placenta in the growth
    retarded fetus. Soc Perin Obstet, Orlando FL, 1987.
31. Gibbens D, Rayburn WF, Murrin L, Wickstrom E. Postnatal ontogeny of muscarinic
    receptors in rat striatum. Soc Gynecol Investiga, Atlanta GA, 1987.
32. Rayburn WF, Gosen R, Ramadei C, Woods R, Scott J. Outpatient cervical ripening with
    prostaglandin E2 gel in postdate pregnancies. Central Assoc Obstet Gynecol, Tarpon
    Springs FL, 1987.
33. Vaughn D, Penney L, Rayburn WF, Cotterill R, Schaaf L. Verapamil infusion during
    pregnancy: Maternal and fetal cardiorespiratory effects. Soc Gynecol Investiga, Atlanta
    GA, 1987.
34. Rayburn WF, Geranis B, Ramadei C, Woods R, Patil K. Patient controlled analgesia
    (PCA) for post-cesarean pain relief. Soc Perin Obstet, Las Vegas NV, 1988.
35. Rayburn WF, Woods R, Ramadei C. The favorable cervix: Pre-induction ripening with
    prostaglandin E2 gel. Soc Perin Obstet, Las Vegas NV, 1988.
36. Rayburn WF, Donn S, Piehl E, Patil K. In-utero barbiturate exposure and bilirubin
    metabolism in the very low birth weight infant, Soc Gynecol Invest, Baltimore MD, 1988.
37. Rayburn WF, Woods R. Blood pressure responses in hypertensive pregnancies treated
    with intravaginal prostaglandin E2. Int Soc Study Hyperten Preg, Montreal Canada, 1988.
38. Selig C, Rayburn WF, Yi P, Chapin J. Portable electronic devices for self-blood pressure
    measurement during pregnancy. Int Soc Study Hyperten Preg, Montreal Canada, 1988.
39. Rayburn WF, Smith C, Parriott J, Rathke A. Comparative study of intravenous fentanyl
    and meperidine. Soc Perin Obstet, New Orleans LA, 1989.
40. Selig C, Yi P, Rayburn WF, Smith C. Reliability of low cost electronic blood pressure
    devices for hypertensive pregnant patients. Soc Perin Obstet, New Orleans LA, 1989.
41. Rayburn WF, Smith C, Woods M, Geranis B. Patient controlled analgesia after cesarean
    section: The effect of different basal infusion rates of meperidine. Soc Perin Obstet, New
    Orleans LA, 1989.
42. Rayburn WF, Rathke A, Leuschen P, Earl R, Ramadei C, Gaston-Johansson F. Patient
    controlled analgesia using meperidine during labor. Soc Gynecol Investiga, San Diego
    CA, 1989.
43. Rayburn WF, Rathke A, Leuschen P, Chleborad J, Weidner W. Fentanyl analgesia during
    labor. Soc Gynecol Investiga, San Diego CA, 1989.
44. Wang Y, Metcalf W, Metcalf N, Rayburn WF. The role of fetal hemoglobin in the
    sensitivity of infants to methemoglobinaemia. Anat Soc Great Britain, London UK, 1989.




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45. Smith C, Rayburn WF, Karaiskakis P, Morton R, Norvell J. Comparison between patient
    controlled analgesia and epidural narcotics for post cesarean pain. Armed Forces, Am
    Col Obstet Gynecol, Washington DC, 1989.
46. Smith C, Leuschen M, Rayburn WF, Nelson R, Willett L, Karaiskakis P. Antenatal
    betamethasone and premature infants treated with surfactant replacement therapy.
    Armed Forces, Am Col Obstet Gynecol, Washington DC, 1989.
47. Egarter C, Husslein P, Rayburn WF. Uterine hyperstimulation after prostaglandin E2
    therapy for cervical ripening. Soc Perin Obstet, Houston TX, 1990.
48. Rayburn WF, Smith C, Leuschen M, Hoffman K. Patient-controlled analgesia using
    fentanyl during labor. Soc Perin Obstet, Houston TX, 1990.
49. Smith C, Rayburn WF, Connor R, Fredstrom G. Double-blind comparison of intravaginal
    prostaglandin E2 gel and "chip" for preinduction cervical ripening. Soc Perin Obstet,
    Houston TX, 1990.
50. Rayburn WF, Anderson J, Smith C, Appel L, Adams S. Fetal circulatory effects from long-
    acting intranasal decongestants. Soc Gynecol Investiga, Houston TX, 1990.
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